            Case 2:19-cr-00104-WFN        ECF No. 93        filed 06/23/22      PageID.296 Page 1 of 3
 PROB 12C                                                                                Report Date: June 23, 2022
(6/16)

                                       United States District Court                                FILED IN THE
                                                                                               U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                          Jun 23, 2022
                                        Eastern District of Washington                        SEAN F. MCAVOY, CLERK



                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Joseph Emery Malo, III                    Case Number: 0980 2:19CR00104-WFN-1
 Address of Offender:                            Spokane, Washington 99202
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: January 22, 2020
 Original Offense:          Failure to Register as a Sex Offender, 18 U.S.C. § 2250(a)
 Original Sentence:         Probation - 60 Months            Type of Supervision: Supervised Release

 Revocation Sentence:       Prison - 2 Months;
 (December 14, 2021)        TSR - 34 Months
 Asst. U.S. Attorney:       Ann Wick                         Date Supervision Commenced: December 29, 2021
 Defense Attorney:          Christina Wong                  Date Supervision Expires: October 28, 2024


                                          PETITIONING THE COURT

To issue a WARRANT and to incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 06/03/2022, and 06/17/2022.

On December 29, 2021, Mr. Malo signed his conditions relative to case number 2:19CR00104-WFN-1, indicating
he understood all conditions as ordered by the Court. Specifically, Mr. Malo was advised that he was to refrain from
any unlawful use of a controlled substance.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

              3         Mandatory Condition #3: You must refrain from any unlawful use of a controlled
                        substance. You must submit to one drug test within 15 days of release from imprisonment
                        and at least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: Mr. Joseph Malo is alleged to have violated mandatory condition
                        number 3 by ingesting methamphetamine on or about June 7 and 9, 2022, based on urinalysis
                        testing.

                        Specifically, on June 7, 2022, Mr. Malo reported to the contract provider in Spokane for
                        random urinalysis testing following his assigned color being called by the provider. Mr.
                        Malo subsequently submitted a presumptive positive urinalysis sample for
                        methamphetamine. On June 8, 2022, a drug use denial form was received from the provider
                        in which the client signed his name and checked the box denying any use of illicit substances
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                       as indicated by the test.

                       On June 9, 2022, the undersigned officer received notification from the contract urinalysis
                       testing provider in Spokane, that the client had failed to attend random urinalysis testing with
                       the contract provider when his assigned color was again called on June 8, 2022. Mr. Malo
                       was subsequently contacted on the day in question and agreed to be present at his residence
                       later for a scheduled home contact and urinalysis testing, among other things.

                       Mr. Malo was subsequently contacted at his residence by the undersigned officer, at which
                       time he provided a urinalysis sample for testing that reflected as presumptive positive for
                       both amphetamine and methamphetamine. Mr. Malo adamantly denied any use of either
                       substance, indicating that he realized he was continuing to test positive for the substances,
                       but he was unsure why. Mr. Malo denied associating with negative influences and indicated
                       he had made a number of changes in his life so he did not fall back into previous bad habits.

                       On June 21, 2022, the lab report specific to the client’s submitted urinalysis test on June 9,
                       2022, was received by the undersigned officer in which the sample was confirmed to be
                       positive for both amphetamine and methamphetamine.

                       On June 23, 2022, the lab report specific to the client’s submitted urinalysis test on June 7,
                       2022, was received by the undersigned officer in which the sample was confirmed to be
                       positive for methamphetamine.

                       It should be noted that as of the date of this report, Mr. Malo has additionally submitted a
                       presumptive positive urinalysis sample for amphetamine and methamphetamine with the
                       contract provider in Spokane, on June 13, 2022. Mr. Malo continues to deny any use of the
                       substances as indicated by the test. This test has since been forwarded to the laboratory for
                       confirmation, but as of the date of this report the result has not been received by the
                       undersigned officer. As a result, this conduct is not currently being alleged as a new
                       violation at this time.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court, and the Court issue a WARRANT.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                             Executed on:      June 23, 2022
                                                                               s/Chris Heinen
                                                                               Chris Heinen
                                                                               U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                     Signature of Judicial Officer

                                                                       6/23/2022
                                                                     Date
